          Case 1:15-cr-00286-ADA-BAM Document 457 Filed 07/31/19 Page 1 of 2



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 5
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 6 United States of America

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:15-cr-00286-DAD-BAM
12                                Plaintiff,            STIPULATION REGARDING
                                                        CONTINUANCE; ORDER
13             v.
     ZAID ELODAT,
14
                                  Defendant.
15

16
                                               STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18

19 and through his counsel of record, hereby stipulate as follows:
20          1.     By previous order, this matter was set for sentencing on Monday, September 30,

21 2019, at 10:00 a.m.

22          2.     By this stipulation, the parties now move to continue the matter to Monday,
23
     December 16, 2019, at 10:00 a.m.
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            3.     The parties further stipulate to the following schedule:
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            Informal Objections Due:                                           November 18, 2019
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27          Final PSR Filed with the Court:                                    November 25, 2019

28          Formal Objections to PSR/Sentencing Memo due:                      December 2, 2019
                                                 1
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         Case 1:15-cr-00286-ADA-BAM Document 457 Filed 07/31/19 Page 2 of 2


           Responses to Formal Objections/Reply to Sentencing Memo:          December 9, 2019
 1
           IT IS SO STIPULATED.
 2

 3
     DATED:       July 26, 2019         Respectfully submitted,
 4
                                        McGREGOR W. SCOTT
 5                                      United States Attorney

 6
                                        /s/ Karen A. Escobar
 7                                      KAREN A. ESCOBAR
                                        Assistant United States Attorney
 8
 9 DATED:         July 26, 2019

10                                      /s/ Edward Robinson
                                        EDWARD ROBINSON
11                                      Counsel for Defendant
                                        Zaid Elodat
12

13
                                               ORDER
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15         The sentencing hearing currently set for September 30, 2019 is hereby continued to
16 December 16, 2019 at 10:00 a.m.

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18 IT IS SO ORDERED.

19     Dated:    July 31, 2019
                                                    UNITED STATES DISTRICT JUDGE
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